            Case 1:14-vv-00486-UNJ Document 21 Filed 03/27/15 Page 1 of 7




                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 14-486V
                                          (Not to be published)

*****************************
                                                 *
GEORGE CAWTHON,                                  *
                                                 *
                     Petitioner,                 *       Filed: February 20, 2015
                                                 *
              v.                                 *       Decision by Stipulation; Damages;
                                                 *       Diphtheria-tetanus-acellular pertussis
                                                 *       (“DTaP”) Vaccine;
                                                 *       Brachial Plexus Neuritis
SECRETARY OF HEALTH AND                          *
HUMAN SERVICES,                                  *
                                                 *
                     Respondent.                 *
                                                 *
*****************************
Diana Stadelnikas Sedar, Maglio Christopher and Toale, PA, Sarasota, FL, for Petitioner.

Lara Ann Englund, U.S. Dep’t of Justice, Washington, DC, for Respondent

                                  DECISION AWARDING DAMAGES 1

       On June 5, 2014, George Cawthon filed a petition seeking compensation under the
National Vaccine Injury Compensation Program, (“the Vaccine Program”). 2 Petitioner alleges
that he suffered brachial plexus neuritis and related complications as a result of receiving the
diphtheria-tetanus-acellular pertussis (“DTaP”) vaccine.


1
  Because this decision contains a reasoned explanation for my action in this case, I will post this decision on the
United States Court of Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No.
107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by 42
U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the posted decision’s inclusion of certain kinds of
confidential information. Specifically, under Vaccine Rule 18(b), each party has 14 days within which to request
redaction “of any information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which
would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole decision will
be available to the public. (Id.)
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C.A. ' 300aa-10-' 300aa-34
(West 1991 & Supp. 2002). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A.
' 300aa.
           Case 1:14-vv-00486-UNJ Document 21 Filed 03/27/15 Page 2 of 7



       Respondent denies that Petitioner’s brachial plexus neuritis and any related medical
problems were caused by the receipt of the DTaP vaccine. Nonetheless both parties, while
maintaining their above-stated positions, agreed in a stipulation filed February 19, 2015 that the
issues before them can be settled and that a decision should be entered awarding Petitioner
compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’
stipulation is reasonable. I therefore adopt it as my decision in awarding damages on the terms
set forth therein.

        The stipulation awards:

                A lump sum of $35,000.00, in the form of a check payable to petitioner. This
                amount represents compensation for all damages that would be available under 42
                U.S.C. § 300aa-15(a).

Stipulation ¶ 8.

        I approve a Vaccine Program award in the requested amount set forth above to be made
to Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court is directed to enter judgment herewith. 3


        IT IS SO ORDERED.

                                                                  /s/ Brian H. Corcoran
                                                                     Brian H. Corcoran
                                                                     Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by jointly filing notice renouncing
their right to seek review.

                                                       2
Case 1:14-vv-00486-UNJ Document 21 Filed 03/27/15 Page 3 of 7
Case 1:14-vv-00486-UNJ Document 21 Filed 03/27/15 Page 4 of 7
Case 1:14-vv-00486-UNJ Document 21 Filed 03/27/15 Page 5 of 7
Case 1:14-vv-00486-UNJ Document 21 Filed 03/27/15 Page 6 of 7
Case 1:14-vv-00486-UNJ Document 21 Filed 03/27/15 Page 7 of 7
